                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   SOUTHERN DIVISION
                                Civil Action No. 7:13-cv-145-F

Lisa Cooper,                                  )
                       Plaintiff,             )
                                              )
                                              )
               vs.                            )       Plaintiff’s Memorandum in Opposition
                                              )       to Defendant’s Motion to Compel IME
                                              )       and Extend Discovery Deadline
The Smithfield Packing Company, Inc.,         )
                     Defendant.               )


                                    PRELIMINARY STATEMENT

       The Plaintiff initially filed this lawsuit on July 11, 2013 alleging causes of action for

Retaliation and Hostile Work Environment Sexual Harassment in violation of Title VII of the

Civil Rights Act of 1964, and as amended in 1991, Negligent and Intentional Infliction of

Emotional Distress, and Negligent Supervision and Retention. After granting in part the

Defendant’s Motions to Dismiss this lawsuit under Rule 12(b)(6), the Court ordered dismissal of

all Plaintiff’s claims except for the claim for Hostile Work Environment Sexual Harassment. The

Plaintiff’s Fourth Amended Complaint was filed on August 23, 2015, and discovery began in this

matter in mid-September, 2015.

       Despite the Defendant’s contention that Plaintiff has intentionally withheld critical

information, the facts show otherwise. The Plaintiff supplemented her discovery responses on

December 16, 2015 by including information pertaining to an EEOC Charge filed against a

previous employer; and again on January 4, 2016 by executing a medical authorization allowing

the Defendant to directly receive medical/clinical records from her treating physician(s) at

Community Innovations. After her deposition on May 17, 2016, the Plaintiff again executed an




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open authorization for release of medical records, and explained and clarified in her second

supplemental response dated June 2, 2016 that she was not treated by any other healthcare

provider except for those employed at Community Innovations.

                                   STANDARD OF REVIEW

       Pursuant to Rule 35 of the Federal Rules of Civil Procedure, when the mental or physical

condition (including the blood group) of a party or of a person in the custody or under the legal

control of a party, is in controversy, the court in which the action is pending may order the party

to submit to a physical or mental examination by a suitably licensed or certified examiner or to

produce for examination the person in the party's custody or legal control. The order may be

made only on motion for good cause shown and upon notice to the person to be examined and to

all parties and shall specify the time, place, manner, conditions, and scope of the

examination and the person or persons by whom it is to be made. Therefore, under the Rule,

Defendant must show: (1) Plaintiff's mental condition is in controversy; (2) the physician is

suitably licensed or certified; and (3) good cause. Shumaker vs. West, 196 F.R.D. 454

(S.D.W.Va.2000).



                                          ARGUMENT

DEFENDANT’S MOTION TO COMPEL IME AND EXTEND EXPERT DEADLINE
SHOULD BE DENIED

       The only claim currently pending in this action is a claim for hostile work environment

sexual harassment. In order to establish a prima facie case of hostile work environment

sexual harassment, Plaintiff must show: (1) that she was subjected to unwelcome conduct; (2) the

unwelcome conduct was based on sex; (3) it was sufficiently pervasive or severe to alter the

conditions of employment and to create a hostile work environment; and (4) some basis exists



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for imputing liability to the employer. See Smith v. First Union Nat'l Bank, 202 F.3d 234 (4th

Cir.2000). Consequently, hostile work environment sexual harassment does not require proof of

emotional distress as would be required in an intentional or negligent infliction of emotional

distress claim.

        Although the Plaintiff alleged that she is entitled to receive damages for mental anguish,

she does not allege mental anguish as an element of her claim. She has not placed her mental

condition in controversy, thereby rendering Rule 35 inapplicable. Here, the Defendant has been

aware that the Plaintiff has alleged damages for mental anguish since filing her initial complaint

in 2013. Even though the Defendant now alleges that the Plaintiff’s inaccuracy regarding her

previous treatment for emotional distress precipitated the need for its motion, the contention is

not supported by the facts. The Defendant contends that if it had known the Plaintiff “has been

receiving mental health treatment as a result of an alleged sexual assault by a former employer, it

would have immediately requested an IME”. However, that alone would not have formed the

basis for an IME. Rule 35 only pertains to actions where a person’s mental condition is in

controversy in the current litigation. Whether or not the Plaintiff saw a previous healthcare

provider regarding a previous allegation of sexual harassment that occurred over twenty (20)

years prior has no bearing on a current claim of hostile work environment sexual harassment.

Moreover, the Plaintiff included information pertaining to her previous sexual harassment case to

the Defendant in supplemental discovery responses. Now, the court having dismissed the

Plaintiff’s two (2) claims for emotional distress, the Plaintiff no longer has to prove that she

suffers or suffered from severe emotional distress as a result of the sexual harassment alleged in

this action.




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       In Blakeley v. Town of Taylortown, 756 S.E.2d 878 (N.C.App.2014), the Court of

Appeals held that there is a difference when emotional distress is a required element of a claim

and when it is a type of damage, opining that there is no requirement that a plaintiff must show

severe emotional distress in order to recover pain and suffering damages. See Iadanza, 169

N.C.App. at 780, 611 S.E.2d at 221–22 (rejecting the argument that ‘‘the psychological

component of damages for ‘pain and suffering’ must meet the same standard as the element of

‘severe emotional distress’ that is part of claims for infliction of emotional distress’’). Thus,

plaintiff was not required to show either ‘‘severe emotional distress’’ or ‘‘extreme and

outrageous conduct’’ by defendant to be awarded emotional distress or pain and suffering

damages.

       In Shumaker, supra, the court addressed a similar situation. There, the Defendant moved

the court under Rule 35 for an Order compelling the Plaintiff to submit to an IME because the

Plaintiff brought a claim pursuant to the Rehabilitation Act of 1973 alleging that she suffered

from PTSD. The Defendant contended that the Plaintiff’s mental condition was in controversy

because she alleged that she was terminated because of her mental impairment. The Plaintiff

opposed the medical examination arguing that the Defendant’s motion was made in an improper

attempt to extend the Scheduling Order deadline for purposes of making a timely disclosure of

its expert witness and report. Plaintiff also alleged that good cause did not exist for an

independent examination because the Defendant did not demonstrate why a personal

examination was necessary when her medical records were provided. Further, in Shumaker, the

Plaintiff had given the Defendant access to her medical records and the Defendant did not

demand an IME until eight (8) days before filing its motion to compel an IME. The Court held

that the Defendant’s belated Rule 35 IME request made days before its expert disclosures were




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due failed to comply with the discovery rules and would be denied. The Court also denied the

Defendant’s motion because the Defendant did not show good cause for the granting of the

motion, relying on Schlagenhauf v. Holder, 379 U.S. 104, 118, 85 S.Ct. 234, 13 L.E.2d 152

(1964). In Schlagenhauf, the Court opined that “good cause requires an affirmative showing by

the movant that each condition as to which the examination is sought is really and genuinely in

controversy and that good cause exists for ordering each particular examination. …”

       In the present case, the Defendant argues that the Plaintiff alleges she suffered from

chronic depression, insomnia, chronic anxiety, stress, nervous stomach and fear as a result of the

sexual harassment in this case. It has identified Dr. Manish Fozdar, a neuropsychiatrist and Dr.

Thomas Bundick, a psychologist to perform the IME. However, the Defendant has not

affirmatively shown that either physician is qualified to determine whether the Plaintiff suffered

from any of the illnesses at or near the time of the sexual harassment by Tommy Lowery

between approximately 2009 and 2011. Further, the Defendant cannot show that each condition

the Plaintiff alleged she suffered as a result of the sexual harassment that occurred between 2009

and 2011 is “really and genuinely” in controversy.


                                         CONCLUSION

       Based on the foregoing, the Plaintiff prays the court for an Order DENYING the

Defendant’s Motion to Compel IME and Extend Discovery to Disclose an Expert.



This the 13th day of June, 2016.

GRAY NEWELL THOMAS, LLP

BY:    /s/ Angela Gray
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                                   SOUTHERN DIVISION
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Lisa Cooper,                                  )
                       Plaintiff,             )
                                              )
                                              )
               vs.                            )             Certificate of Service
                                              )
                                              )
The Smithfield Packing Company, Inc.,         )
                     Defendant.               )


        I, Angela Newell Gray, Attorney for the Plaintiff, do hereby certify that I served the
foregoing Plaintiff’s Response in Opposition to the Defendant’s Motion to Compel IME upon
counsel for the Defendant shown below by electronically filing the same with the Clerk of Court
using the CM/ECF system which will send notification of such filing to the following attorney of
record;

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This the 13th day of June, 2016.

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